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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

 J.E.B., individually and as next friend to
 F.C.B.,                                      §
                                              §
 Plaintiff(s),                                §
                                              §
 VS.                                          §
                                              §
 CLAY DEAN HILL, individually and             §
                                                CIVIL ACTION NO. 1:19-CV-444-LY
 d/b/a     SHILOH        TREATMENT            §
 CENTER, SHILOH TREATMENT                     §
 CENTER, INC.; JUAN J. SANCHEZ,               §
 individually and d/b/a, SOUTHWEST            §
 KEY; AND SOUTHWEST KEY                       §
 PROGRAMS, INC.,                              §
                                              §
 Defendant(s).

  DEFENDANTS JUAN J. SANCHEZ AND SOUTHWEST KEY PROGRAMS, INC.’S
                  RULE 12(B)(6) MOTION TO DISMISS
        Despite the Court’s Order granting Plaintiffs leave to amend, their First Amended

Complaint and Jury Demand (Doc. 19) fails to state a viable cause of action against Juan J. Sanchez

or Southwest Key Programs, Inc. Instead, Plaintiffs’ Amended Complaint continues to reveal that

this case is about Plaintiffs’ dispute with federal immigration policies and laws (e.g., detention of

asylum seekers, family separation policy, placement of unaccompanied minors) and incidents that

allegedly occurred while F.C.B. was placed in a facility operated by co-defendants Clay Dean Hill

and Shiloh Treatment Center. Taking Plaintiffs’ Amended Complaint at face value, and liberally

construing the few facts alleged therein, Plaintiffs’ case is not about any improper conduct or action

taken by Defendants Juan J. Sanchez (“Sanchez”) or Southwest Key Programs, Inc. (“SWK”)

(collectively, the “SWK Defendants”). Therefore, SWK Defendants, by and through their counsel

and pursuant to FED. R. CIV. P. 12(b)(6), respectfully move to dismiss all claims Plaintiffs assert

against SWK Defendants in their entirety.

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                                      I.      INTRODUCTION
        Plaintiffs are father and son residents and citizens of Guatemala. Amended Complaint ¶ 2.

Plaintiffs allege that in February of 2018, law enforcement authorities apprehended and took them

into custody after then entered the United States in search of asylum. Id. at ¶¶ 14-15. After their

apprehension, Plaintiffs allege that law enforcement authorities separated them, placing them in

separate facilities. Id. at ¶ 15-16. After a relatively short period of detention, J.E.B., the father, was

allegedly deported to Guatemala. Id at ¶ 15. His son F.C.B., however, was detained for a longer

period of time, with law enforcement authorities initially placing him at a facility operated by

SWK while waiting for final adjudication of his immigration status. Id. at ¶ 16. F.C.B. was placed

in the SWK facility from February to June of 2018. Id. at ¶¶ 15-17.

        On June 21, 2018, F.C.B. was transferred to a facility that was operated by Co-Defendants

Clay Dean Hill and the Shiloh Treatment Center (“Shiloh”). Id. ¶ 17. While at Shiloh, Plaintiffs

contend F.C.B. was misdiagnosed, improperly treated with medication, and sexually assaulted by

another child. Id. at ¶¶ 17-21, 27, 29-30. Based on F.C.B.’s detention and this alleged mistreatment,

Plaintiffs now seek damages pursuant to common-law intentional tort claims – assault and battery,

false imprisonment, and intentional infliction of emotional distress – as well as civil rights claims

based on violations of state law. Id. ¶¶ 36-39.

        Plaintiffs’ Amended Complaint, however, is grossly insufficient, failing to allege specific

facts as against the SWK Defendants of any acts or omissions giving rise to liability and failing to

adequately support any of the alleged claims against the SWK Defendants. Although this Court

specifically granted Plaintiffs leave to amend their Original Petition “so as to allow inclusion of

facts and claims” against the SWK Defendants, they failed to do so. And this despite SWK’s

production of all of its records pertaining to the care and custody of F.C.B. Indeed, all of Plaintiffs’

claims are facially inadequate under the pleading requirements outlined in Iqbal and Twombly and

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should be dismissed. In addition to their failure to satisfy the Iqbal/Twombly pleading standard,

Plaintiffs fail to state claims against the SWK Defendants related to the alleged physical and/or

sexual abuse of F.C.B. because Plaintiffs do not even purport to suggest that any of the alleged

physical or sexual abuse occurred at SWK’s facility or that any of these tortious acts were

committed by the SWK Defendants. Moreover, as discussed in more detail below, although

Plaintiffs assert a false imprisonment claim, they fail to allege facts supporting an essential element

of the claim – that the detention was unlawful and not within the scope of their pursuit of asylum

in the United States.

        Quickly perusing Plaintiffs’ Amended Complaint readily demonstrates that, as to the SWK

Defendants, it consists entirely of conclusory allegations that fail to articulate sufficient facts

specifically supporting any claim against the SWK Defendants. Therefore, the Court should

dismiss all claims against the SWK Defendants in their entirety under FED. R. CIV. P. 12(b)(6).

                           II.     ARGUMENTS AND AUTHORITIES
A.      Plaintiffs’ Claims Against the Southwest Key Defendants Do Not Meet the Burden Of
        Pleadings Established Under Ashcroft v. Iqbal, 556 U.S. 662 (2009) and Bell Atlantic
        Corp. v. Twombly, 550 U.S. 544 (2007).
        To survive a Rule 12(b)(6) motion to dismiss, a plaintiff “must plead ‘enough facts to state

a claim to relief that is plausible on its face.’” In re Katrina Canal Breaches Litigation, 495 F.3d

191, 205 (5th Cir. 2007), quoting Twombly, 127 S. Ct. at 1974. To accomplish this, a plaintiff must

plead sufficient facts and not only legal conclusions that, when viewed in the light most favorable to

plaintiff, would raise a right to relief above the speculative level. Id. (emphasis added). To that end, in

Iqbal, the Supreme Court observed that “only a complaint that states a plausible claim for relief

survives a motion to dismiss,” which is a determination involving “a context-specific task that requires

the reviewing court to draw on its judicial experience and common sense.” Iqbal, 556 U.S. at 679. Of

particular importance here, “threadbare recitals of the elements of a cause of action, supported by mere


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conclusory statements do not suffice.” Iqbal, 129 S. Ct. at 1949. The plaintiff must plead specific facts,

not merely conclusory allegations or verbatim recitations of a cause of actions elements, to avoid

dismissal. Collins v. Morgan Stanley Dean Witter, 224 F.3d 496, 498 (5th Cir. 2000). Similarly,

dismissal is also proper where the complaint lacks factual allegations regarding a required element

necessary to obtain relief. See Rios v. City of Del Rio, Texas, 444 F.3d 417, 421 (5th Cir. 2006), cert.

denied, 549 U.S. 825 (2006).

        To be sure, although early, this matter is no longer in its infancy. The parties have exchanged

written discovery, have agreed to a proposed scheduling order, and Plaintiffs had the benefit of

receiving document production from both the SWK Defendants and co-defendant Shiloh before filing

their Amended Complaint. That production included Shiloh records pertaining to F.C.B.’s care and

treatment and all of the SWK Defendants’ available records relating to the limited time F.C.B. was

placed at the SWK facility. Nonetheless, Plaintiffs still offered no facts in their Amended Complaint

that, if taken as true, would “raise a right to relief above the speculative level” against the SWK

Defendants. Twombly, 127 S. Ct. at 1965.

        In fact, the Amended Complaint only contains one paragraph that purports to link the SWK

Defendants to any of Plaintiffs’ claims:

        F.C.B. was held, first in the State of Arizona by the SWK defendants. He was abused
        both physically and emotionally. The abuse was so extreme and outrageous that on or
        about June 9, 2018, he was admitted to the Banner Thunderbird Medical Center at
        Glendale Arizona at risk of suicide. Id.
Beyond this vague and conclusory statement, none of the factual assertions describe acts that were

committed by the SWK Defendants or conducted at its facility. Amended Complaint. ¶¶ 17-30. Under

the pleading standards outlined by the United State Supreme Courts in Iqbal and Twombly, Plaintiffs’

allegations against the SWK Defendants are clearly inadequate and cannot support a claim for which

relief can be granted. Twombly, 550 U.S. at 556 (2007) (“A claim has facial plausibility when the

plaintiff pleads factual content that allows the court to draw the reasonable inference that the defendant


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is liable for the misconduct alleged”). See also Iqbal, 556 U.S. at 679 (“[W]here the well-pleaded facts

do not permit the court to infer more than the mere possibility of misconduct, the complaint has

alleged—but it has not ‘show[n]’—‘that the pleader is entitled to relief”) quoting Fed. R. Civ. P.

8(a)(2) (emphasis added).

        In Twombly, for example, the plaintiffs couched their ultimate allegations, in part, as follows:

        Beginning at least as early as February 6, 1996, and continuing to the present, the exact
        dates being unknown to Plaintiffs, Defendants and their coconspirators engaged in a
        contract, combination or conspiracy to prevent competitive entry in their respective
        local telephone and/or high speed internet services markets by, among other things,
        agreeing not to compete with one another and to stifle attempts by others to compete
        with them and otherwise allocating customers and markets to one another in violation
        of Section 1 of the Sherman Act. Id. at 551 n.2.

There, the Court found that those allegations, without any additional facts, “comes up short” and that

the mere inferences from those conclusions did not bring the pleading above a speculative level to

make a claim for relief plausible on its face. See Id. at 564-66 (finding none of the alleged facts in the

complaint “invests either the action or inaction” of a plausible conspiracy claim).

        Here, Plaintiffs tee up an archetypal case for dismissal under Iqbal/Twombly. In their Amended

Complaint, Plaintiffs fail to plead a single specific fact supporting their claims against the SWK

Defendants. To the contrary, after again complaining about Sanchez’s purported salary and former

relationship to SWK, which is inapposite to any issue in the case, Plaintiffs merely assert broad, vague

legal conclusions and generically recite the elements to the claims they assert. Amended Complaint.

¶¶ 36-39. That is not enough. At no point in the revised 51-paragrah Complaint do Plaintiffs ever

provide any specific facts that support their claims or their legal conclusions. The who, what, when,

where, and how of each of Plaintiffs’ claims against SWK Defendants is wholly absent. This despite

having received SWK’s entire 694-page file on its care, custody, and treatment of F.C.B. while he was

placed in its facility. Plaintiffs’ failure to plead facts supporting any of their claims against the SWK

Defendants or offer anything more than the inferential possibility of misconduct is fatal. The Court

should dismiss all claims against the SWK Defendants.
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B.     Plaintiffs Fail to Plead Viable Intentional Tort Claims Against Defendants
       In addition to Plaintiffs’ failure to satisfy the Iqbal/Twombly pleading standard, each of

Plaintiffs’ claims against the SWK Defendants also independently fail to state a claim against the

SWK Defendants for which relief can be granted.

       1.      Assault and Battery
       Plaintiffs’ first claim for relief is for the intentional torts of assault and battery. Petition at

¶ 37. The elements of a civil assault require showing a person (1) intentionally, knowingly, or

recklessly caused bodily injury to another; (2) intentionally or knowingly threatened another with

imminent bodily injury; or (3) intentionally or knowingly caused physical contact with another

when the person knows or should reasonably believe that the other will regard the contact as

offensive or provocative. See City of Waco v. Williams, 209 S.W.3d 216, 223 (Tex. App.—Waco

2006). Likewise, a battery is established when a person (1) acts intending to cause a harmful or

offensive contact with the person of the other and (2) a harmful contact with the person of the other

directly or indirectly results. McLaurin v. Waffle House, Inc., 178 F. Supp. 3d 536, 556 (S.D. Tex.

2016). Plaintiffs fail to plead facts supporting any of the elements for assault or battery against the

SWK Defendants.

       According to Plaintiffs’ well-pleaded facts, law enforcement authorities placed F.C.B. in a

facility operated by SWK for approximately four months, from February of 2018 until June of

2018. See Amended Complaint ¶¶ 15-17. Critically, however, Plaintiffs do not allege that any

physical or sexual abuse occurred at the SWK facility or by any SWK Defendants. In fact, as pled,

it was not until after F.C.B. was transferred to the Shiloh facility in Texas that any alleged tortious

conduct occurred. Id. at ¶¶ 17-30, 26-36. Thus, even when viewed in a light most favorable to

Plaintiffs, before the June 21, 2018 transfer, there is no claim that F.C.B was improperly




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medicated, sexually assaulted or otherwise harmed at the SWK facility. Compare id. at ¶ 24, with

Id. at ¶¶ 16-19, 26-36.

       Of particular importance here, in an assault and battery case, if the defendant establishes a

lack of physical contact, then he/she successfully eliminates an essential element of the cause of

action. Preble v. Young, 99 S.W.2d 153, 156 (Tex. App.-Houston [14th Dist.] 1999, no pet.)

(noting actual touching is a necessary element to assault and battery claims”); see also Protho v.

City of Garland, 234 F.3d 706 (5th Cir. 2000) (holding that district court erred when it denied

qualified immunity to three police officers for whom plaintiff never alleged “inappropriate

physical contact occurred”). In the Amended Complaint, Plaintiffs have not alleged facts stating a

claim to relief that is plausible on its face against the SWK Defendants. Besides the vague labels,

conclusions, and a formulaic recitation of the elements of an assault and battery claim, Plaintiffs’

allegations on their face do not go beyond mere speculation and certainly do not support a claim

that F.C.B. had an apprehension of or experienced any tortious contact at any time during his

placement at the SWK facility. Twombly, 550 U.S. at 555.

       2.      False Imprisonment
       Plaintiffs also assert an intentional tort claim for false imprisonment. Amended Complaint

¶ 37. False imprisonment in Texas is the direct restraint by one person of the physical liberty of

another without adequate legal justification. Big Town Nursing Home, Inc. v. Newman, 461 S.W.2d

195 (Tex. Civ. App.—Waco 1970, no writ). The essential elements of false imprisonment are: (1)

willful detention by the defendant; (2) without the consent of the plaintiff; and (3) without authority

of law. See Wal–Mart Stores, Inc. v. Rodriguez, 92 S.W.3d 502, 506 (Tex. 2002). Plaintiffs,

however, fail to allege a plausible false imprisonment claim against the SWK Defendants because

they do not articulate any facts suggesting that SWK willfully detained F.C.B. or that F.C.B’s



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detention at the SWK facility was executed “without the authority of law.” Plaintiffs’ allegations,

indeed, reveal precisely the contrary.

       To be clear, Plaintiffs do not contend that they are citizens or residents of the United States.

Amended Complaint ¶ 2. Rather, Plaintiffs are citizens of Guatemala who were apprehended and

taken into custody by federal law enforcement officials while they were traveling to the United

States in search of asylum. Id. at ¶¶ 2, 15. Importantly, “an officer acting with the authority of law

does not commit false imprisonment.” Davila v. United States, 713 F. 3d 248, 262 (5th Cir. 2013);

see also Wal–Mart Stores v. Resendez, 962 S.W. 2d 539, 540 (Tex. 1998) (“In a false imprisonment

case, if the alleged detention was performed with the authority of law, then no false imprisonment

occurred”). Here, the Amended Complaint establishes that their detention was directly connected

with their attempt to apply for asylum. Amended Complaint at ¶¶ 14-15. Thus, by its very nature,

at the time of their apprehension, Plaintiffs lacked legal immigration status in the United States

and, therefore, were fully subject to the federal immigration laws, regulations, and procedure for

all similarly situated asylum applicants. That is, they were willfully detained by federal law

enforcement authorities – not the SWK Defendants – and their detention was with legal authority.

       Under Section 208(a) of the Immigration and Nationality Act, 8 U.S.C. § 1158(a), federal

law enforcement officials have the sole discretion to grant asylum to any alien who is unable or

unwilling to return to his or her country of origin because of “persecution or a well-founded fear

of persecution on account of race, religion, nationality, membership in a particular social group,

or political opinion.” See 8 U.S.C. § 1101(a)(42)(A). Further, and critically, federal law

enforcement officials also have the statutory and regulatory authority to detain any individual that

arrives in the United States to seek asylum while that person awaits the final adjudication of his or

her immigration status. 8 U.S.C. § 1225(b)(1)(B)(iii)(IV) (“Any alien ... shall be detained pending



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a final determination of credible fear of persecution and, if found not to have such a fear, until

removed”). See, e.g., Jennings v. Rodriguez, 138 S. Ct. 830, 842 (2018) (holding, inter alia, that

the plain language within § 1225(b) regarding aliens seeking asylum mandates the detention of

those individuals until immigration officers have finished “consider[ing]” the application for

asylum or until removal proceedings have concluded). And F.C.B. remained in federal custody by

reason of his immigration status at all times during his 4-month placement in SWK’s facility. See

6 U.S.C. § 279(b).

       At its core, Plaintiffs’ false imprisonment claim does not allege anything more than what

is authorized under federal law for all asylum applicants. At no point in the Amended Complaint

do Plaintiffs offer any facts suggesting that F.C.B.’s placement at the SWK facility was an

extrajudicial detention. Without more, the Amended Complaint simply does not state a plausible

false imprisonment claim against the SWK Defendants. Twombly, 550 U.S. at 556. Indeed, the

very fact that F.C.B. remained in federal custody during his placement at a SWK facility

necessarily precludes the viable assertion of a false imprisonment claim against the SWK

Defendants. See Flores v. Reno, Stipulated Settlement Agreement at ¶ 19, Case No. CV 85-4544-

RJK(px) (C.D. Cal. Jan. 17, 1997) (“In any case in which the INS does not release a minor pursuant

to Paragraph 14, the minor shall remain in INS legal custody. Except as provided in Paragraphs

12 or 21, such minor shall be placed temporarily in a licensed program. . . . All minors placed in

such a licensed program remain in the legal custody of the INS.”); Reno v. Flores, 507 U.S. 292,

298 (1993) (“Juveniles placed in these facilities are deemed to be in INS detention ‘because of

issues of payment and authorization of medical care.’ 53 Fed. Reg. at 17449. ‘Legal custody’ rather

than ‘detention’ more accurately describes the reality of the arrangement.”). To the extent Plaintiffs

seek to express displeasure with the manner their asylum claim was handled or, more broadly,



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challenge U.S. federal immigration policy or the current administration’s family separation policy,

a false imprisonment claim against the SWK Defendants is wholly inappropriate, not viable, and

should be dismissed. After all, according to the Supreme Court, the Flores Agreement, and federal

law, while placed in the SWK facility, F.C.B. remained in the lawful custody of federal law

enforcement authorities.

       3.      Intentional Infliction of Emotional Distress
       Plaintiffs also assert a vague claim for Intentional Infliction of Emotional Distress

(“IIED”). Amended Complaint ¶ 38. To prevail on a claim for IIED, a plaintiff must establish that

(1) the defendant acted intentionally or recklessly; (2) the defendant's conduct was extreme and

outrageous; (3) the defendant's actions caused the plaintiff emotional distress; and (4) the resulting

emotional distress was severe. Hoffmann-La Roche Inc. v. Zeltwanger, 144 S.W.3d 438 (Tex.

2004); Standard Fruit and Vegetable Co., Inc. v. Johnson, 985 S.W.2d 62 (Tex. 1998). Plaintiffs’

factual allegations, however, fail at every step.

       In Texas, moreover, IIED claims are recognized as a “gap-filler” tort that was “never

intended to supplant or duplicate existing statutory or common-law remedies.” Creditwatch, Inc.

v. Jackson, 157 S.W.3d 814, 816 (Tex. 2005). Accordingly, since IIED is a gap-filler tort, a

plaintiff must not only establish the essential elements set forth above, but “must also establish

that there are no alternative causes of action that would provide a remedy for the severe emotional

distress caused by the defendant’s conduct.” Kroger Tex., L.P. v. Suberu, 216 S.W.3d 788, 796

(Tex. 2006). If an IIED claim is based on another tort, a plaintiff cannot maintain an action for

IIED “regardless of whether she chooses to assert the alternative claim, succeeds on the alternative

claim, or the alternative claim is barred.” Tipping v. Martin, No. 3:15-CV-2951-BN, 2015 WL

5999666, at *7 (N.D. Tex. Oct. 14, 2015) (citing Hoffmann–La Roche Inc. v. Zeltwanger, 144

S.W.3d 438, 445 (Tex.2004)). Thus, where the gravamen of an IIED claim is really another tort,

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IIED should not be available since the availability of the other claims leaves no gap to fill.

Hoffmann–La Roche Inc., 144 S.W.3d at 447. See, e.g., Moser v. Roberts, 185 S.W.3d 912, 915–

16 (Tex. App. 2006) (dismissing an IIED cause of action because plaintiff’s slander, libel, and

malicious prosecution claims afforded plaintiff a remedy for any resulting emotional distress);

Bookman v. AIDS Arms, Inc., No. 3:14-CV-814-B, 2014 WL 4968189, at *6 (N.D. Tex. Oct. 3,

2014) (“in light of the fact that the IIED claim is based on the same allegations as those offered in

support of the sexual harassment claim, the Court finds the IIED claim invalid”); Holguin v. Lopez,

584 F. Supp. 2d 921, 928 (W.D. Tex. 2008) (“Because [plaintiff's] IIED claim against [defendant]

is based on the same operative facts as his claims for constitutional violations, the Court finds that

[plaintiff] cannot pursue his IIED claim as a matter of law).

        Here, because Plaintiffs’ IIED claim is solely based on the same conduct alleged and

offered in support of the assault and battery and false imprisonment claims, it will not fill any gaps.

Further, even when viewed in a light most favorable to Plaintiffs, the Amended Complaint does

not sufficiently describe any conduct whatsoever by the SWK Defendants, much less “extreme

and outrageous” behavior. According to Plaintiffs, F.C.B. was placed in the SWK facility from

February to June 2018. Amended Complaint ¶¶ 15-17. This court is not required to conjure up any

additional unpled allegations. See Rios, 444 F.3d at 421. During the time F.C.B. was at the SWK

facility, Plaintiffs do not specifically allege any facts relating to purportedly intentional or reckless

conduct, resulting emotional distress or that such hypothetical emotional distress was severe.

Amended Complaint ¶¶ 15-17. The Amended Complaint simply does not support any allegation

of extreme or outrageous behavior during F.C.B’s four-month placement at the SWK facility. See

'Umar v. Price, No. 09-95-068CV, 1996 WL 4031, at *6 (Tex. App. Jan. 4, 1996) (finding Plaintiff




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did not allege sufficient facts rising to the level of injury for which IIED existed even where

plaintiff was incarcerated in a penal institution).

       4.      Deprivation of Constitutional Rights
       Lastly, Plaintiffs now also assert civil rights claims under 42 U.S.C. § 1983. Amended

Complaint ¶¶ 39-42. Importantly, a § 1983 claim can only be applied to individuals who act “under

color of any statute, ordinance, regulation, custom, or usage, of any State or Territory.” 42 U.S.C.

§ 1983. To state a viable claim for relief, a plaintiff must prove: (1) a violation of a constitutional

right, and (2) that the alleged violation was committed by a person acting under color of state law.

West v. Atkins, 487 U.S. 42, 48 (1988) (emphasis added). The under-color-of-state-law element of

§ 1983 excludes from its reach “merely private conduct, no matter how discriminatory or

wrongful.” Blum v. Yaretsky, 457 U.S. 991, 1002 (1982) (quoting Shelley v. Kraemer, 334 U.S. 1,

13 (1948)). Any allegation that a defendant violated a plaintiff’s constitutional rights in a § 1983

claim must be “fairly attributable to the State.” Atkins, 487 U.S. at 48. See also Lugar v.

Edmondson Oil Co., Inc., 457 U.S. 922, 937 (1982). It is only where the person acts to deprive

another of his federal rights under color of state law that § 1983 provides authority for a federal

claim. Parker v. Graves, 479 F.2d 335, 336 (5th Cir. 1973).

       Here, Plaintiffs fail to plead either state action or any violation of a constitutional right by

a person acting under color of state law. To be sure, Plaintiffs broadly allege action “under color

of law”, but their pleadings demonstrate that the SWK Defendants were acting under color of

federal law. And Plaintiffs have not brought a Bivens action or a suit under the Federal Tort Claims

Act. Thus, it is readily apparent from the face of Plaintiffs’ Amended Complaint that they have

failed to plead a valid claim against the SWK Defendants under 42 U.S.C. § 1983.




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C.     Plaintiffs Fail to Plead a Plausible Claim Against Sanchez in his Individual Capacity
       1.      Plaintiffs do not allege that Sanchez engaged in any tortious conduct
       Plaintiffs’ ostensible claims against Sanchez in his individual capacity fail on their face.

Other than identifying Sanchez as the former Chief Executive Officer of SWK and making

assertions about his financial arrangement with SWK, Plaintiffs do not plead any facts even

remotely demonstrating a plausible claim that Sanchez committed any of the alleged intentional

torts. Plaintiffs do not, for example, allege that Sanchez had any role or involvement in the

apprehension or placement of F.C.B. at the SWK facility. Nor do they allege that, while at the

SWK facility, Sanchez monitored, counseled, treated, or had any contact with F.C.B. at any time.

Plaintiffs do not plead any facts supporting any claim against Sanchez individually. Nor have

Plaintiffs alleged any facts supporting a purported claim for a CEO’s vicarious liability for the

unspecified acts or omissions of unidentified employees of the entity.

       2.      Sanchez is entitled to qualified immunity for all claims asserted against him in
               his individual capacity
       In the alternative, the Court should find that Sanchez is entitled to qualified immunity for

all claims asserted against him in his individual capacity. According to the Amended Complaint,

SWK is a non-profit Texas corporation with business operations focused on holding foreign minors

who have been detained and separated from their parents by governmental entities. Amended

Complaint ¶¶ 6-7. That is, it is a facility in which federal authorities place alien minors while they

are in federal custody by reason of their immigration status. See, e.g., 6 U.S.C. § 279(b). From

1987 until March of 2019, Sanchez was the CEO of SWK. Petition at ¶ 6. As such, according to

Plaintiffs’ allegations, Sanchez was an agent of the federal government with respect to its

placement of detained minors at the SWK facility, triggering his entitlement to qualified immunity.

       As the Fifth Circuit has explained, “[q]ualified immunity serves to ensure government

employees are not impeded from their public work to defend frivolous actions.” Porter v. Valdez,

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424 Fed. Appx. 382, 386 (5th Cir. 2011) (citing Babb v. Dorman, 33 F.3d 472, 477 (5th Cir. 1994)).

See also Malley v. Briggs, 475 U.S. 335, 344-45 (1986) (holding Courts should resolve qualified

immunity at the earliest possible stage of litigation and it should protect “all but the plainly

incompetent or those who knowingly violate the law). Through qualified immunity, government

officials conducting discretionary functions generally are shielded from liability for civil damages

to the extent that their conduct does not violate clearly established statutory or constitutional rights

of which a reasonable person would have known. Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982).

“Accordingly, qualified-immunity analysis is based upon two, well-established prongs: (1)

whether plaintiffs show violation of a clearly-established statutory or constitutional right; and, if

so, (2) whether they show defendants' actions were ‘objectively [un]reasonable in light of clearly

established law.’” Id. (quoting Nunez v. Simms, 341 F.3d 385, 387 (5th Cir. 2003)).

       Once the qualified immunity affirmative defense is invoked, the burden shifts to the

Plaintiff to rebut it. See Burns-Toole v. Byrne, 11 F.3d 1270, 1274 (5th Cir. 1994). The plaintiff

must plead specific facts with a level of particularity so that they would, if proved, warrant the

relief sought. Id. See also Nunez v. Simms, 341 F.3d 385, 388 (5th Cir. 2003) (citing Reyez v. Sazan,

168 F.3d 158, 161 (5th Cir. 1999) (“[h]eightened pleading in qualified immunity cases requires that

plaintiffs rest their complaint on more than conclusions alone and plead their case with precision

and factual specificity”). In view of that, because Sanchez raises qualified immunity in the context

of a Rule 12(b) motion, the Court’s analysis is limited to the facts alleged in Plaintiffs’ Amended

Complaint. See Nunez at 386-87.

       Here, again, the well-pleaded facts do not go beyond vague and conclusory statements to

demonstrate a violation of any clearly-established constitutional or statutory right or any action by

Sanchez that was objectively unreasonable in light of clearly established law. First, although



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Plaintiffs allege false imprisonment, they concede that F.C.B. was only placed at the SWK facility

after Plaintiffs were apprehended and taken into custody by law enforcement officials while

traveling from Guatemala to the United States in search of asylum. See Amended Complaint ¶¶

15-16. Thus, on its face, Plaintiffs’ conclusory allegations do not suggest that Sanchez violated

any clearly-established right by ostensibly participating in F.C.B.’s detention while he awaited the

final adjudication of his immigration status.

       Second, even if the Court were to proceed to the second step, Plaintiffs do not allege any

facts that demonstrate any objectively unreasonable conduct by Sanchez. To succeed on this prong,

Plaintiffs must allege facts sufficient to show that no reasonable officer could have viewed his

actions as proper. Porter, 424 Fed. Appx. at 388. However, as noted above, Plaintiffs fail to allege

any facts that demonstrate that Sanchez, as the CEO of SWK, personally committed any specific

acts while F.C.B. was placed at the SWK facility.

       Consequently, Plaintiffs’ claims against Sanchez necessarily fail because they do not allege

specific conduct that gives rise to a constitutional or statutory violation or objectively unreasonable

conduct under any clearly established law. See DeLeon v. City of Dallas, 141 Fed. Appx. 258, 261

(5th Cir. 2005). Failing on each element, Plaintiffs cannot state a plausible claim against Sanchez

to which he is not otherwise entitled to qualified immunity.

D.     Plaintiff J.E.B. Fails to Plead Any Claims Against Defendants in his Individual
       Capacity.
       The Court should dismiss all claims for relief asserted by Plaintiff J.E.B. in his individual

capacity because the Amended Complaint does not contain any supporting factual or legal

grounds. Each of the asserted claims – assault and battery, false imprisonment, intentional

infliction of emotional distress and depravation of constitutional rights – relate to the alleged

detention and treatment of F.C.B. See Amended Complaint ¶¶ 37-39. According to the Amended


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Complaint, J.E.B. was taken into custody and deported to Guatemala in April of 2018. Id. at ¶¶ 15.

No well-pleaded facts suggest any purported mistreatment of J.E.B. by SWK Defendants.

Plaintiffs do not allege that SWK Defendants were involved in J.E.B.’s apprehension, his

separation from F.C.B., his detention or his eventual deportation to Guatemala. He does not allege

that he was ever detained at the SWK facility or that he had any physical contact with any SWK

employee prior to his deportation. Even construing the facts in Plaintiffs’ Original Petition broadly

and accepting them as true for the purposes of the instant motion, nothing supports any claim by

J.E.B. against SWK Defendants.

       E. Plaintiffs’ claims relating to improper administration of medication are barred.
       Any and all claims relating to the improper administration of medication to F.C.B. while

he was placed in a SWK facility are barred as a matter of law from being re-litigated in this forum.

More than twenty years ago, the federal government entered into a settlement agreement with a

class of litigants asserting various claims relating to the care, custody, and treatment of alien

minors detained by federal law enforcement, the so-called Flores Agreement. See Flores v. Reno,

Stipulated Settlement Agreement, Case No. CV 85-4544-RJK(px) (C.D. Cal. Jan. 17, 1997)

(“Flores Agreement”). The express purpose of the Flores Settlement was to “set[] out nationwide

policy for the detention, release, and treatment of minors in the custody of the INS.” See Flores

Agreement at ¶ 9. The defendant parties to that agreement included the federal government and

its “agents, employees, contractors and/or successors in office.” Id. at ¶ 1. And the plaintiff class

covered by the lawsuit and settlement constituted “All minors who are detained in the legal custody

of the INS.” Id. at ¶ 10. Plaintiffs’ Amended Complaint establishes the manifest applicability of

the Flores Agreement to the instant litigation in pleading facts that establish the SWK Defendants

are contractors or agents of the federal government and that F.C.B. was a minor in the custody of



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the federal government. Amended Complaint at ¶¶ 1, 6, 7, 15, 16. F.C.B. was a class member

subject to the Flores Agreement.

       The applicability of the Flores Agreement has important implications for Plaintiffs.

Initially, SWK Defendants appreciate that minors, like F.C.B., who are class members may

undoubtedly challenge their placement determinations or allege noncompliance with the standards

set forth in the Flores Agreement. Flores Agreement at ¶ 24.B. But in asserting their claims here,

Plaintiffs ignore the fact that – while F.C.B. was detained – the Flores class challenged the alleged

improper or unauthorized administration of medication to detained minors last year. Specifically,

in April of 2018, while F.C.B. was placed in a SWK facility, the Flores class of which F.C.B. was

a part argued that the government was in breach of the Flores Agreement by, among other things,

“administering psychotropic drugs to Class Members without first obtaining a court order or the

informed consent of a person authorized by state law to approve such decisions.” See Flores v.

Sessions, Order re Plaintiffs’ Motion to Enforce Class Action Settlement at 1, CV 85-4544-DMG

(AGRx) (C.D. Cal. July 30, 2018) (Doc. 470). More to the point, the Class of which F.C.B. was a

member “claim[ed] that ORR has violated Texas law by forcing Class Members at Shiloh RTC to

take psychotropic medication without first obtaining a court order or the informed written consent

of a person authorized by state law to provide such consent.” Id. at 20. Ruling on the claim while

F.C.B. was placed at Shiloh, the Court found violations of the Flores Agreement:

       For the reasons discussed in this section, the Court finds that Defendants have
       breached Paragraphs 6 and 9 and Exhibit 1 of the Flores Agreement in the course
       of administering psychotropic medications at Shiloh RTC. The Court ORDERS
       Defendants to comply with all Texas child welfare laws and regulations governing
       the administration of psychotropic drugs to Class Members at Shiloh RTC. Most
       importantly, Defendants shall do the following before administering any
       psychotropic medication to a Class Member at Shiloh RTC: (1) provide the
       disclosure required by 26 Texas Administrative Code section 748.2253 to a “person
       legally authorized to give medical consent” as that term is defined in 26 Texas
       Administrative Code section 748.43(47), and (2) obtain the written consent of that

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       person in accordance with 26 Texas Administrative Code sections 748.2001 and
       748.2253. If Defendants are not able to obtain such informed written consent, then
       they may not administer the psychotropic medication to the Class Member unless
       they obtain a court order authorizing them to do so under Texas law or there is an
       “emergency” as that term is defined in Texas Family Code section 266.009 and 26
       Texas Administrative Code section 748.2257. If Defendants administer
       psychotropic medication on an emergency basis, then Defendants shall adhere to
       all of the notification and documentation requirements imposed by Texas Family
       Code section 266.009 and 26 Texas Administrative Code section 748.2257.
Id. at 23-24. That is, while F.C.B. was placed at a SWK facility, his Class raised certain complaints

concerning treatment of Class members, including some relating to the administration of

psychotropic medication, and while he was placed at Shiloh, Judge Gee issued her ruling

addressing those complaints. The same complaints Plaintiffs now voice with respect to the

administration of psychotropic medication.

       Although not dispositive of all claims asserted at bar, Plaintiffs certainly cannot re-litigate

those claims already raised and adjudicated under the auspices of the ongoing Flores litigation

relating to purported violations of the Flores Agreement. See, e.g., Lucas R. v. Azar, 2018 WL

7200716 at *6-7 (C.D. Cal. Dec. 27, 2018). To the extent Plaintiffs contend Shiloh failed to comply

with Judge Gee’s Order, they should take that matter up in that Court. But claims relating to the

administration of medication are not subject to re-litigation here and, in any event, not as to the

SWK Defendants. The Court should, accordingly, dismiss all such claims at bar against SWK

Defendants relating to alleged improper administration of medication.

                               III.    CONCLUSION AND PRAYER
       Apparently aggrieved by federal immigration policies and laws, Plaintiffs’ claims against

the SWK Defendants are misplaced. Indeed, such claims are manifestly improper because

imposing liability on the SWK Defendants, a federal government contractor, for state law torts

would frustrate federal legislation and would conflict with federal policies and interests. See, e.g.,

Boyle v. United Technologies Corp., 487 U.S. 500, 507 (1988). And, importantly, Plaintiffs’


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Amended Complaint independently fails to state a viable claim for relief as against the SWK

Defendants. Therefore, the Court should grant this motion and dismiss all claims against

Defendants Juan J. Sanchez and Southwest Key Programs, Inc.




                                                 Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       On the 16th day of September, 2019, I served all counsel of record electronically or by

another manner authorized by FEDERAL RULE OF CIVIL PROCEDURE 5(b)(2).

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